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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                                                     )
DEMETRIUS JOHNSON,                                   )
                                                     )          Case No. 20-cv-4156
              Plaintiff,                             )
                                                     )          Judge Sara L. Ellis
              v.                                     )
                                                     )          Magistrate Judge Heather K. McShain
REYNALDO GUEVARA, the ESTATE of                      )
ERNEST HALVERSON, DARRYL DALEY,                      )
WILLIAM ERICKSON, JOHN HEALY, and                    )
the CITY OF CHICAGO                                  )
                                                     )          JURY TRIAL DEMANDED
              Defendants.                            )


 PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
 DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT AND DAUBERT MOTIONS

        Plaintiff DEMETRIUS JOHNSON, by his undersigned attorneys, respectfully requests a

four-week extension of time to file his response to the Defendants’ motions for summary

judgment and Daubert motions, stating in support as follows:

        1.         On April 12, 2024, Defendants filed three separate motions for summary

judgment, along with two Daubert motions. Plaintiff’s responses to Defendants’ motions for

summary judgment and Daubert motions are due May 13, 2024. Dkt. 307.

        2.         Defendants sought and were granted leave to file motions in excess of the page

limits set forth in the Local Rules. Dkt. 322. In total, Defendants’ three summary judgment

motions and two Daubert motions consist of over 150 pages of briefing.

        3.         Plaintiff’s counsel has worked diligently to complete a responsive brief, but due

to the size and scope of the project and other professional commitments, including other summary




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judgment responses due on May 22, 2024, Plaintiff’s counsel will be unable to complete

Plaintiff’s responsive brief by the stated deadline.

        4.      Plaintiff has consulted with counsel for Defendants Reynaldo Guevara, counsel

for Defendants Ernest Halverson, Darryl Daley, William Erickson, and John Healy, and counsel

for Defendant City of Chicago, all of whom have kindly agreed to a four-week extension for

Plaintiff’s completion of the responsive briefs. If the due date for Plaintiff’s response is extended,

Defendants request the same extension to file their replies, which will then be due on July 19,

2024.

        WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff a four-week

extension to June 10, 2024 to file their responsive briefs to Defendants’ Motions for Summary

Judgement and Daubert Motions, and extend Defendants’ reply deadlines to July 19, 2024.

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                                                               RESPECTFULLY SUBMITTED,

                                                               /s/ Anand Swaminathan
                                                               Counsel for Plaintiff

                                                               Anand Swaminathan
                                                               Steven Art
                                                               Sean Starr
                                                               Alyssa Martinez
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                               CERTIFICATE OF SERVICE
       I, Anand Swaminathan, an attorney, certify that on May 8, 2024, I filed the foregoing
pleading using the Court’s CM/ECF system, which effected service on all counsel of record.

                                                           /s/ Anand Swaminathan
                                                           One of Plaintiff’s Attorneys




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